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                           UNITED STATES DISTRICT COURT
  16                     CENTRAL DISTRICT OF CALIFORNIA
  17
  18                                           Master File No.: 2:22-cv-00809-MCS-MAR
        In re PANDORA MEDIA, LLC
  19    COPYRIGHT LITIGATION                   CONSOLIDATED ACTION

  20                                           DEFENDANT AND
                                               COUNTERCLAIMANT PANDORA
  21                                           MEDIA, LLC’S OPPOSITION TO
                                               WORD COLLECTIONS’ REQUEST
  22                                           FOR JUDICIAL NOTICE
        This Document Relates To:              Filed concurrently with Pandora’s
  23    ALL ACTIONS                            Opposition to Motion to Dismiss and
  24                                           Pandora’s Opposition to Plaintiffs’ Joinder
                                               in Motion to Dismiss
  25                                           Date: August 29, 2022
  26                                           Time: 9:00 AM
                                               Crtrm: 7C - First Street Courthouse
  27                                                  350 W. 1st Street, 7th Floor
                                                      Los Angeles, CA 90021
  28
            PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
                                                         INC.’S REQUEST FOR JUDICIAL NOTICE
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    1         Counterclaimant Pandora Media, LLC (Pandora) respectfully submits the
    2   following memorandum of points and authorities in opposition to Counterclaim
    3   Defendant Word Collections, Inc.’s (WC) request for judicial notice pursuant to Rule
    4   201 of the Federal Rules of Evidence.1 Specifically, Pandora asks the Court to deny
    5   WC’s request as to portions of Exhibit C2 and Exhibits D and E in their entirety, on
    6   the ground that WC improperly asks the Court to consider documents that were not
    7   referenced in—much less central to—Pandora’s counterclaims and are not properly
    8   the subject of judicial notice.
    9                                 INTRODUCTION
  10          In connection with its motion to dismiss, WC asks the Court to take judicial
  11    notice of the following three documents:
  12               Exhibit C, an email and select attachments thereto allegedly sent by the
  13                 CEO of WC.
  14               Exhibit D, alleged printouts from Spoken Giants’ Website Homepage.
  15
  16
        1
          WC has neither filed its request for judicial notice as a separate motion from its
  17    motion to dismiss nor included it as part of its memorandum of points and authorities
  18    on the motion to dismiss (which would have put the memorandum several pages over
        the limit). Given the page restrictions, Pandora is treating the request for judicial
  19    notice as a separate motion and responding accordingly. See Fed. R. Civ. P. 7(b)(1)
  20    (“A request for a court order must be made by motion.”). While WC has met and
        conferred with Pandora regarding its motion to dismiss, it failed to meet and confer
  21    with Pandora regarding this request for judicial notice and should be admonished
  22    accordingly. See, e.g., Taraska v. Swedelson, 2021 WL 4734872, at *2 (C.D. Cal.
        Aug. 24, 2021) (J. Scarsi) (denying a motion to strike and a request for judicial notice
  23    based on failure to adequately meet and confer); Caldera v. J.M. Smucker Co., 2013
  24    WL 6987905, at *1-2 (C.D. Cal. June 3, 2013) (striking a motion to enjoin when
        plaintiff mentioned but did not discuss the substance of the motion as part of a larger
  25    meet and confer regarding a class certification motion).
        2
  26      Pandora does not object to the request for judicial notice of the proposed blanket
        license, which is Attachment 3 to Exhibit C. Throughout this brief, “Exhibit C” is
  27    used to mean the entirety of Exhibit C as attached to WC’s Request for Judicial
  28    Notice (ECF No. 49-1), except for Attachment 3 to Exhibit C.
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             PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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    1              Exhibit E, excerpts from a transcript of a former employee of Pandora’s
    2                predecessor, not the Defendant, testifying before the Copyright Royalty
    3                Board in an unrelated matter.
    4         For the reasons set forth below, the Court should deny WC’s request for
    5   judicial notice as to Exhibits C, D, and E and disregard these exhibits in considering
    6   WC’s motion to dismiss.
    7                               LEGAL STANDARD
    8         When assessing the sufficiency of a complaint under Rule 12(b)(6) of the
    9   Federal Rules of Civil Procedure, district courts are generally not permitted to
  10    consider material outside of the pleadings. Khoja v. Orexigen Therapeutics, Inc., 899
  11    F.3d 988, 998 (9th Cir. 2018). As an exception, courts “may, however, consider
  12    certain materials,” notably “documents attached to the complaint, documents
  13    incorporated by reference in the complaint, or matters of judicial notice.” United
  14    States v. Ritchie, 342 F.3d 903, 907-08 (9th Cir. 2003). Pursuant to Federal Rule of
  15    Evidence 201, a court may only take judicial notice of relevant facts that are “not
  16    subject to reasonable dispute” because the facts are either (1) “generally known
  17    within the trial court’s territorial jurisdiction” or (2) “can be accurately and readily
  18    determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
  19    Evid. 201(b); see also Derosa v. ViacomCBS Inc., 2021 WL 1235039, at *2-3 (C.D.
  20    Cal. Mar. 3, 2021) (J. Scarsi).
  21          Because judicially-noticed facts are binding on the parties, “[c]are must be
  22    taken that Rule 201 not be used as a substitute for more rigorous evidentiary
  23    requirements and careful factfinding.” Korematsu v. U.S., 584 F. Supp. 1406, 1415
  24    (N.D. Cal. 1984). On a motion to dismiss, a court may not take judicial notice of facts
  25    favorable to the defendant if those facts may be reasonably disputed. U.S. v.
  26    Corinthian Colleges, 655 F.3d 984, 999 (9th Cir. 2011). Irrelevant facts also should
  27    not be taken under judicial notice. DoorDash, Inc. v. City & Cnty. Of San Francisco,
  28
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    1   2022 WL 867254, at *4 (N.D. Cal. March 23, 2022) (citing Khoja, 899 F.3d at 1000
    2   n.5).
    3                                      ARGUMENT
    4             The Court should not take judicial notice of Exhibits C, D, and E—or
    5   otherwise consider them in deciding WC’s motion to dismiss—because they are not
    6   referenced in the pleadings, nor are they relevant to the motion itself. For the reasons
    7   below, the Court should deny WC’s request for judicial notice of Exhibits C, D, and
    8   E.
    9       I.    The Court Should Not Take Judicial Notice of Exhibit C.
  10              WC improperly attempts to introduce an email thread and attachments that are
  11    neither referenced in the pleadings nor relevant to its motion to dismiss in order to
  12    improperly push disputed factual arguments.3 Exhibit C contains an email and
  13    attachments allegedly sent by WC’s CEO, Jeff Price, to individuals at Pandora. ECF
  14    No. 49-1 at 2. While WC claims “Pandora’s Counterclaims incorporate these
  15    documents by reference,” id. at 4, nowhere in the cited portions of the counterclaims
  16    does Pandora mention (let alone discuss) Mr. Price’s email, the attached alleged
  17    notice of potential infringement, or the attached legal memorandum advocating WC’s
  18    views regarding the copyright claims. As noted above, Pandora does not oppose the
  19    Court’s consideration of Attachment 3 to Exhibit C—WC’s proposed license
  20    agreement—because that document was referenced in the counterclaims, unlike the
  21    remainder of Exhibit C.
  22              By contrast, the cases cited by WC take judicial notice of documents that are
  23    “repeatedly referenced” (Weiland Sliding Doors & Windows, Inc. v. Panda Windows
  24    & Doors, LLC, 2012 WL 202664, at *4 n.4 (S.D. Cal. Jan. 23, 2012)) or “referred to
  25    extensively” (Byron v. Maduros, 2020 WL 70835, at *1 n.1 (C.D. Cal Jan 6, 2020)
  26
        3
         WC admits that an additional attachment was omitted from Exhibit C “because it is
  27
        not directly relevant to the motion to dismiss.” ECF No. 49-1 at 4, n.1. However, WC
  28    fails to explain how the email or its other attachments are relevant to the motion.
                                                  -3-
                 PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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    1   (citing Ritchie, 342 F.3d at 908)). There are no such “repeated” or “extensive”
    2   references to Exhibit C in the pleadings, and WC makes no argument that the Court
    3   should take judicial notice of Exhibit C on other grounds. In order to take judicial
    4   notice of a document not referenced in the pleadings, a court must find that there is
    5   another basis for judicial notice. Synergy Project Mgmt. v. City & Cty. of San
    6   Francisco, 2018 WL 2234596, at *1 (N.D. Cal. May 16, 2018). There is no such
    7   basis here. Exhibit C is not relevant to WC’s motion to dismiss, and the Court should
    8   accordingly decline to take judicial notice of the document. Lockandlocate, LLC v.
    9   Hiscox Ins. Co., INC, 549 F. Supp. 3d 1093, 1099 (C.D. Cal. 2021) (J. Scarsi)
  10    (declining to take judicial notice of two exhibits “because it is unnecessary for the
  11    purposes of ruling on this motion”).
  12    II.    The Court Should Not Take Judicial Notice of Exhibit D.
  13           WC attempts to introduce a document that it characterizes as a printout of the
  14    home page from the Spoken Giants website as proof that Spoken Giants is “another
  15    ‘global rights administration company for the owners and creators of Spoken Word
  16    copyrights’, including comedians and their estates.” ECF No. 49 at 20 n.8 (citing Ex.
  17    D). First, this alleged fact is not relevant to whether Pandora sufficiently pled its
  18    counterclaims, and judicial notice should be denied on this basis alone. PG&E v.
  19    Lynch, 216 F. Supp. 2d 1016, 1025 (N.D. Cal. 2002) (“A judicially noticed fact may
  20    not be subject to reasonable dispute and must be relevant”). The existence of a second
  21    licensing cartel is not referenced anywhere in Pandora’s counterclaims and is
  22    therefore wholly irrelevant to whether the allegations, taken as true, state a plausible
  23    claim. Additionally, even if facts outside the pleadings were properly considered, the
  24    existence of a second licensing cartel is not relevant to whether WC has violated the
  25    antitrust laws, especially where the exclusive nature of each cartel necessarily means,
  26    from the perspective of users of comedy, the two cartels are not competitive
  27    substitutes. Instead, their respective licenses would be complements. The Department
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    1   of Justice has said the same about ASCAP and BMI, the very two licensing
    2   collectives that WC touts as its model. Counterclaims ¶¶ 16, 44, 61; Brief for the
    3   United    States    at   25,    U.S.    v.    BMI,   No.     00-6123     (available    at
    4   https://www.justice.gov/atr/case-document/file/489861/download) (2d Cir. June 26,
    5   2000) (“Their relationship vis-a-vis users may be more accurately described as co-
    6   monopolists in the sale of blanket licenses”); Brief for the United States as Amicus
    7   Curiae at 1-2, American Society of Composers, Authors, and Publishers v. DMX, Inc.,
    8   No. 11-127, 2011 WL 1836821 (S.D.N.Y. May 6, 2011) (stating that ASCAP and
    9   BMI have “significant market power” because “no bulk user of music can operate
  10    without licenses for works from both,” prompting the government to bring antitrust
  11    suits against them “[t]o cabin the exercise of their power”); see also Meredith Corp.
  12    v. SESAC LLC, 1 F. Supp. 3d 180, 188-89, 218-19 (S.D.N.Y. 2014) (explaining that
  13    ASCAP, BMI, and SESAC “have repertories of copyrighted music that are exclusive
  14    of one another” and “[t]ogether . . . account for virtually every copyrighted musical
  15    composition in the United States and its territories,” leading to stations
  16    “overwhelmingly” and “consistently” purchasing blanket licenses from all three
  17    organizations); U.S. v. BMI (In re Application of Music Choice), 426 F.3d 91, 96 (2d
  18    Cir. 2005) (“As we held with respect to ASCAP, rate-setting courts must take
  19    seriously the fact that they exist as a result of monopolists exercising disproportionate
  20    power over the market for music rights.”).
  21          Second, it is improper to take judicial notice of information on a third-party
  22    website as its accuracy cannot be adequately determined. Gerritsen v. Warner Bros.
  23    Entm’t Inc., 112 F. Supp. 3d 1011, 1029 (C.D. Cal. 2015) (holding that “information
  24    appearing on the third party websites is not a proper subject of judicial notice because
  25    it is not capable of accurate and ready determination”). Courts should be reluctant to
  26    take judicial notice of facts on a private webpage because there is no oversight of
  27    such posting and the posting of a “fact” on a webpage does not necessarily make it
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             PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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    1   true. Knight v. Std. Ins. Co., 2008 WL 343852, at *2 n.2 (E.D. Cal. Feb. 6, 2008).
    2   Websites are a company’s marketing tool, on which “anyone can say anything,” and
    3   courts should thus be wary of finding judicially noticeable facts among all the
    4   material on the website. Id. at *2 n.2 (citing Victaulic 25 Co. v. Tieman, 499 F.3d
    5   227, 237 (3d Cir. 2007)).
    6         The cases cited by WC are inapposite. Perkins v. LinkedIn Corp., 53 F. Supp.
    7   3d 1190, 1205 (N.D. Cal. 2014) involved a screenshot of a webpage directly
    8   referenced in the complaint; moreover, the request for judicial notice was unopposed.
    9   So too in Tromble v. W. Digital Corp., 2021 WL 2165796 at *1 n.2 (N.D. Cal. May
  10    7, 2021), the other case cited by WC, where the request for judicial notice was
  11    unopposed. WC’s failure to meet-and-confer with Pandora in advance of its filing
  12    does not render the Request unopposed.
  13          Even when webpages are subject to judicial notice, “[t]he truth of the contents
  14    of … [a] Web site [is] not [a] proper matter[] for judicial notice.” All One God Faith,
  15    Inc. v. Organic & Sustainable Indus. Standards, Inc., 107 Cal. Rptr. 3d 861, 870 n.12
  16    (Cal. Ct. App. 2010). Judicial notice can only be used to establish that a website was
  17    publicly available, and not to establish facts from the content of the webpage. Spy
  18    Optic, Inc. v. Alibaba.Com, Inc., 163 F. Supp.3d 755, 762 (C.D. Cal. 2015). The
  19    existence of the webpage is neither referenced in Pandora’s counterclaims nor
  20    relevant to WC’s motion to dismiss, and WC makes no argument to the contrary. The
  21    Court should therefore decline to take judicial notice of Exhibit D.
  22 III.     The Court Should Not Take Judicial Notice of Exhibit E.
  23          WC asks the Court to take judicial notice of testimony from a separate and
  24    unrelated proceeding involving a former employee of Pandora Media, Inc., an entity
  25    that is not Pandora and is at best a predecessor Pandora, as evidence of Pandora’s
  26    existing business objectives and current positions as they relate to this case. ECF No.
  27    49 at 16-17 n.6. The testimony in Exhibit E is not from an officer of Pandora,
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             PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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    1   referenced in Pandora’s pleadings, nor is it in any way relevant to determining
    2   whether Pandora has sufficiently pleaded its antitrust counterclaims, and the Court
    3   should decline to take judicial notice for that reason alone. See, e.g., PG&E, 216 F.
    4   Supp. 2d at 1025; DoorDash, 2022 WL 867254, at *4 (citing Khoja, 899 F.3d at 1000
    5   n.5).
    6            WC also improperly references the substantive content of the testimony rather
    7   than the fact of its existence. Wyatt v. Terhune, 315 F.3d 1108, 1114 n.5 (9th Cir.
    8   2003) (noting that “[f]actual findings in one case ordinarily are not admissible for
    9   their truth in another case through judicial notice”) (overruled on other grounds by
  10    Albino v. Baca, 747 F.3d 1162 (9th Cir. 2014)); see also M/V Am. Queen v. San Diego
  11    Marine Constr. Corp., 708 F.2d 1483, 1491 (9th Cir. 1983) (stating that “[a]s a
  12    general rule, a court may not take judicial notice of proceedings or records in another
  13    cause so as to supply, without formal introduction of evidence, facts essential to
  14    support a contention in a cause then before it”). Even if the Court were to take judicial
  15    notice of the fact that a former employee of a predecessor of Pandora testified in a
  16    2017 rate-setting proceeding, it would be improper to take judicial notice of the
  17    alleged facts contained within that testimony. Prodanova v. H.C. Wainwright & Co.,
  18    LLC, 2018 WL 8017791, at *5 (C.D. Cal. Dec. 11, 2018) (“Just because the document
  19    itself is susceptible to judicial notice does not mean that every assertion of fact within
  20    that document is judicially noticeable for its truth.”). The cases cited by WC further
  21    support this principle. See Anschutz Corp. v. Merrill Lynch & Co., 785 F. Supp. 2d
  22    799, 834 (N.D. Cal. 2011) (in which the court only took judicial notice of the
  23    existence of the testimony at issue—not the facts asserted therein); Diaz v. Carlson,
  24    5 F. Supp. 2d 809, 814 n.4 (C.D. Cal 1997) (same).
  25             Beyond the procedural impropriety of what WC seeks to do with witness
  26    testimony from an unrelated proceeding, Pandora further takes issue with WC’s
  27    substantive mischaracterization of that testimony. In an apparent effort to legitimize
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                PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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    1   its price-fixing conspiracy through which WC set a single fixed price for everything
    2   in its catalog, WC cites this testimony in support of the nonsensical proposition that
    3   Pandora actually wants a fixed price, rather than prices set by the forces of
    4   competition. Specifically, WC asserts “Pandora has stated in rate-setting proceedings
    5   that it does not want a royalty structure with non-static per play fees because that
    6   would create a perverse incentive for Pandora to limit the amount of hours of
    7   streaming its users consume . . . .” ECF No. 49 at 17 n.6. The cited testimony in no
    8   way supports WC’s claim. As an initial matter, WC grossly misrepresents the cited
    9   testimony, which does not discuss “non-static per-play fees” at all. Rather, the
  10    testimony distinguished—crucially in the context of a blanket license created by
  11    statute—between a fixed per-play fee structure, which the predecessor of Pandora
  12    was apparently opposed to, and a percentage-of-revenue fee structure, which it was
  13    advocating for.4
  14          Moreover, the context of the regulated rate proceeding from which WC pulled
  15    this testimony is fundamentally different from that of the counterclaims at issue here.
  16    The testimony WC cites is from a 2017 Copyright Royalty Board (“CRB”)
  17    proceeding, in which the CRB is charged with setting industry-wide statutory royalty
  18    rates and terms for so-called “mechanical” license fees to be paid by qualifying
  19    streaming services to all musical works rightsholders. 17 U.S.C. § 115. It involves a
  20    rate-setting standard explicitly designed to reign in the market power of those musical
  21    works rightsholders. See, e.g., Determination of Royalty Rates and Terms for Making
  22    and Distributing Phonorecords (Phonorecords III), 84 Fed. Reg. 1918, 1933 (2019)
  23    (“the so-called shadow [of the rate-setting proceeding] imbues licensees with
  24    countervailing power, to offset or mitigate the bargaining power of licensors who
  25
        4
  26      It is not clear how WC thinks this cited testimony is helpful to its motion. The per-
        play rate structure that the predecessor of Pandora was opposed to in the cited
  27
        testimony is precisely the fee structure that WC has insisted on in the license it is
  28    demanding that Pandora take.
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    1   otherwise have the ability to threaten to ‘walk away’ from negotiations and thus
    2   decimate the licensees’ businesses. The Judges find merit in this perspective, because
    3   it underscores the fact that a purpose of the compulsory license is to prevent the
    4   licensor from utilizing or monetizing the ability to ‘walk away’ as a cudgel to obtain
    5   a better bargain.”) (remanded for further proceedings on other grounds).
    6         This regulated proceeding has no bearing whatsoever on Pandora’s
    7   counterclaims, in which it challenges the unregulated licensing tactics of WC and its
    8   co-conspirator comedians. First, there is no congressionally mandated rate-setting
    9   proceeding applicable to literary works rights like there is for musical works rights.
   10   Second, literary works rights licensing fees are not set on an industry-wide basis, nor
   11   is there any reason that they should be. Absent anticompetitive behavior like that
   12   engaged in by WC and its co-conspirator comedians, the licensing of any underlying
   13   comedic work would continue to occur pursuant to long-standing industry custom
   14   and practice (and, if not, in a competitive market in which comedians would compete
   15   on price to have their material streamed). Counterclaims ¶¶ 35, 41-43, 46. ECF No.
   16   34. Third, the efficiencies from collectively licensing musical works (pursuant to
   17   regulation to lessen the anticompetitive problems associated with such collective
   18   licensing) are simply not present with comedy. Id. at ¶¶ 44-45. There is no reason to
   19   license comedy on a collective basis, nor has WC or any of the individual comedians
   20   articulated any basis for doing so. And finally, the musical works rightsholders are
   21   only able to negotiate on a collective basis because there is an express antitrust
   22   exemption provided by Congress in the governing statute allowing them to do so, and
   23   that is only because of the existence of regulatory backstop: a rate-setting court that
   24   can be turned to in the event of a negotiating impasse. 17 U.S.C. § 115(c)(1)(D).
   25   There is no similar exemption (or related regulation) applicable to WC, its comedian
   26   co-conspirators, or literary works rightsholders.
   27         In short, WC’s use of this cited testimony is procedurally improper, grossly
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    1   mischaracterizes the testimony, and, in any event, is entirely irrelevant to the
    2   counterclaims at issue.
    3                                   CONCLUSION
    4         For the reasons set forth above, WC’s request for judicial notice as to Exhibits
    5   C, D, and E should be denied.
    6   Dated: August 5, 2022                      MAYER BROWN LLP
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            PANDORA MEDIA, LLC’S OPPOSITION TO COUNTERCLAIM DEFENDANT WORD COLLECTIONS,
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